 4:15-cr-03026-RGK-CRZ            Doc # 49   Filed: 04/15/15   Page 1 of 1 - Page ID # 69




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                 4:15CR3026
      vs.
                                                                  ORDER
JOSE PRECIADO, ALBERTO HINEGES
JR.,
                    Defendants.


      Defendant Hineges has moved to continue the pretrial motion deadline and trial,
(filing nos. 47 and 48), because the defendant has new counsel who needs additional time
review this case and confer with the defendant before deciding if pretrial motions should
be filed. The motion to continue is unopposed. Based on the showing set forth in the
motion, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant Hineges’ motions to continue, (filing nos. 47 & 48), are granted.

      2)     As to both defendants, pretrial motions and briefs shall be filed on or
             before June 15, 2015.

      3)     As to both defendants, trial of this case is continued pending resolution of
             any pretrial motions filed.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendants in a speedy trial. Accordingly, as
             to both defendants, the additional time arising as a result of the granting of
             the motion, the time between today’s date and June 15, 2015, shall be
             deemed excludable time in any computation of time under the requirements
             of the Speedy Trial Act, because despite counsel’s due diligence, additional
             time is needed to adequately prepare this case for trial and failing to grant
             additional time might result in a miscarriage of justice. 18 U.S.C. §
             3161(h)(1), (h)(6) & (h)(7).

      Dated this 15th day of April, 2015.         BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
